Case 2:23-cv-12886-SFC-EAS ECF No. 37-1, PagelD.1537 Filed 10/07/24 Page 1 of 3

Appendix A

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Original — Court 2nd copy - Defendant
S STATE OF WICHIGAN a eo
ANSWER, CIVIL
JUDICIAL DISTRICT 2200061GC
6th JUDICIAL CIRCUIT (PAGE 3 OF 4) Hon. Michelle Friedman

Plaintiff's name(s) Defendant's name(s)
JPMORGAN CHASE BANK N.A. . ora Someta |
CHECK ALL THAT APPLY {for each box AFFIRMATIVE DEFENSES

checked, attach a statement of facts)

&] Defendant, (1 Attorney for defendant states the following affirmative defenses:
(1. | paid this debt in full (satisfied). Attached is proof of payment.

(12. This action is barred by the statute of limitations because
C the plaintiff failed to sue within six years of the last activity on the alleged account. MCL 600.5807(8).

( the alleged contract involves a motor vehicle retail sales installment contract or the sale of other goods, and
the plaintiff failed to sue within four years of , the last activity on the alleged account. MCL 440.2726(1).

oO the pial tale to sue within three years after the alleged contract of sale of a mobile home on __. MCL
(13. (CI paid an amount that the plaintiff accepted as payment in full (accord and satisfaction), tata fs prose of
payment. pierre, MICH!
(J The debt was discharged in bankruptcy. The case number was OM. “UE COPS

(4. The contract is void or voidable because
(| was a minor when the alleged contract was made.

(C] | was not mentally competent when the alleged contract was made. Probate ca 5-99)
Attached are my iotiore of conservatorship/guardianship. URAL 2

{J there was no valid contract (no meeting of the minds) because See Attached Statement of Facts.
(15. The contract was severely unjust or extremely one-sided (unconscionable).
(16. | amnot liable for the alleged damages because of the plaintiff's contributory negligence.

Ot AVH 2202
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(17. The alleged contract is unenforceable because it is not in writing (statute of frauds).
(18. My vehicle was repossessed and later sold in a commercially unreasonable manner. MCL 440.9807(4>
E19. The contract should not be enforced because of the plaintiff's improper conduct (fraud and/or diese)
(1110. The goods purchased were defective (failure of consideration). “ $<
[2] 11. The terms of the contract did not express what the parties intended (mutual mistake).

(1112. have not been credited for all payments made on the alleged account. Attached is proof of payment.

(J 13. Other: See Attached Statement of Facts.

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Date ndant/Attorney
Katrina Bergunder __
Name (Type or print)

Form MC 03, Rev. 1/21

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CaQtes28 2v2I2286-I2AB86SS FCr BA S4-4E RABENR B53 7 FlePAg(PAIEs. 1R5BO 5 Pifed 10/07/24

Original - Court 2nd copy - Defendant
SCAO ist copy — Plaintiff 3rd - of
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT ‘paoess ray 2200061GC
6th JUDICIAL CIRCUIT Hon. Michelle Friedman
Plaintiffs name(s) 7 Defendant's name(s)
JPMORGAN CHASE BANK N.A. Katrina

{ STATEMENT OF FACTS ]

4c. | thought that Plaintiff would be reasonable in repayment in the event of dramatic, devastating, and unforeseen world
events such as the global pandemic of COVID-19 that resulted in the world shutting down, loss of work, and the death of

millions

5. At the time | was living in poverty, in an abusive situation, and struggling in college, | agreed to the unfair terms to
support myself in times when my $10/hour job could not.

9. When inquired, they insisted that if | had hardships that they would work with me. Despite my numerous repeated calls,

Plaintiff was unwilling to work with me.
11. As part of the world, | thought that Plaintiff would know about large, unforeseen world events and be reasonable in the

event of them.
43. While Plaintiff has continuously refused to negotiate, | am still willing to negotiate with Plaintiff to resolve our issues.

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Approved, SCAO
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